                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                Plaintiff,

        vs.                                                        Case No. 16-CR-21 (PP)

SAMY M. HAMZEH,

                Defendant.


                    SECOND MOTION FOR PRODUCTION OF BRADY
                       MATERIAL AND TO COMPEL DISCOVERY

        Samy Hamzeh, by counsel, moves this Court for the entry of an order requiring

the government to produce the discovery described below. Hamzeh submits that the

following materials must be produced under Rule 16 of Fed. R. Crim. P. or under Brady

v. Maryland, 373 U.S. 83 (1963), and its progeny. The requested information is material

and helpful to Hamzeh’s defense or to his sentence. 1

        The Court is familiar with the facts of this case from the extensive pleadings filed

in support of Hamzeh’s bond motion and various motions to dismiss and the first motion

to compel, so this motion will be brief and to the point. This discovery motion breaks




1  The “helpful” information that Rule 16 and Brady requires to be disclosed to the defense is not limited to
exculpatory evidence; it also includes inculpatory evidence because it is “just as likely to assist 'in the
preparation of the defendant’s defense' as exculpatory evidence.” Since the preparation of the defense
requires knowledge of its pitfalls as well as its strengths. See United States v. Marshall, 132 F.3d 63, 67
(D.C. Cir. 1998); see also United States v. Cruz-Velasco, 224 F.3d 654, 665 (7th Cir. 2000) (finding that
government should have disclosed potentially inculpatory passenger list to defense under Rule 16, but that
district court’s remedy of prohibiting the government from using the list to rebut defendant’s trial
testimony was not abuse of discretion).

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down along three lines, with a fourth category added to forewarn the Court of an

enormous looming problem. First, text messages between the agents and informants and

the underlying data that surrounds them. Second, Giglio and Brady materials surrounding

the informants and agents. Third, information concerning the agents, their training, their

personnel files, including the internal information related to the investigation, and its

integrity. The fourth category discussed in this brief concerns the transcripts that were

supposed to have been disclosed 40 days ago.

      1. The text messages from the agents to the informants and all the information
         surrounding them.

      The government has disclosed twenty-six pages of text messages between the

agents and the informants. They are from four different agents to the informants. Some

of these are redacted, and we are requesting that they be entirely disclosed—we need to

know what was said and it cannot be discerned through context. Here is an example of

one such text:




The text is meaningless when it’s completely blank.

      Second, we need to know from what numbers the text messages were sent. And

here’s why: we only have a small amount of the text messages that were actually sent.

For instance, the government has disclosed that Agent Adkins (the lead agent) texted

with Mike and we have some of those texts—44. The problem is a review of Mike’s cell

records (gathered from a defense subpoena) reveal an additional 132 text messages were

sent between the two, for a total of 176 contacts through text or SMS. So there are many,
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many missing texts. To be clear: there could be more, some of the text messages we have

are duplicates, so it could be that more are missing. But the defense is giving a

conservative estimate. And if the agents were texting from multiple numbers, there could

be even more. What’s more, the defense just recently learned that Mike had multiple

phone numbers, so there could be even more text messages at issue.

      The government has indicated that Special Agent Adkins’ Bureau phone had a

software issue that caused a gap in text message capture and storage and that the FBI was

unable to recover them. But no information has been provided as to how this happened,

when it happened, when it was discovered, whether the FBI sought the texts through

other means, or whether there are additional methods available to try to recover the texts.

      When it comes to the informant Steve, the phone records reflecting contact

between him and the agents don’t match up. Meaning: the government’s disclosure of

when a text was sent does not match up with Steve’s cell phone records. And because we

don’t know what the agents’ phone numbers are or what numbers they texted from, we

cannot determine how many other communications there were between Steve and the

agents. Understanding the breadth of contact between the agents and the informants

against the paucity of the disclosed and preserved texts stands as essential information

for the defense. It’s necessary to have a complete picture of how the agents were driving

and directing the investigation.

      Not only are the absence of preserved texts important, the text messages that have

been turned over have been very helpful to the defense; they provide a clearer insight

into the investigation and document that the government’s prior representations about
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instructions given to the informants were not entirely correct. In December, the

government was adamant that only four instructions were given to the informants. These

were:

        1. The CHS' s assistance and the information provided to the FBI are entirely
           voluntary;

        2. The CHS must provide truthful information to the FBI;

        3. The CHS must abide by the instructions of the FBI and must not take or seek
           to take any independent actions on behalf of the US government;

        4. The United States government will strive to protect the CHS’s identity but
           cannot guarantee it will not be divulged.

That is, what the defense and the Court had been told, were the sum of all the instructions

that FBI gave the informants.

        Yet the text messages have given a different picture of what had been

communicated. This included an unknown agent scolding Steve in October for not

recording conversations.

        We need to talk before you talk to Samy anymore in the future. We need to
        get stuff like last night recorded every time. If you need to push him off for
        a day or two before you can meet we have to do it. The bosses got a bit upset
        that last night wasn’t recorded and said they want everything recorded
        from now on. Thank you for understanding.

Remember: a significant defense point is the 35-day window when there are no

recordings of the daily in-person meetings between the informants and Samy between

mid-December and January 19th—the pivotal week when Hamzeh became concerned

that the Masons were actually ISIS and his attention turned to getting a gun.




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      And then after Samy had refused to engage in any violence, but agreed to buy a

weapon with his “friend” Steve, the agent texted Steve this message, with the last

sentence being the most important and its being emphasized:

      Nice work Call Eric or myself tomorrow You’ll have to book another night
      before checkout. Do you have enough money to cover another night? We’ll
      get you the money tomorrow. Thank you! Delete my messages.

If the messages that we have are just a small part of the overall messages, much could be

inferred about what else must be out there. And what’s out there (as far as contacts go

and from what phone numbers) is both discoverable and essential to Hamzeh’s

entrapment defense.

      To that end, the defense is specifically requesting the following:

             a. Identification of any unpreserved text messages to or from the agents
                regarding this investigation, including with the informants in this case
                (we understand that all texts that are available have been produced).

             b. Please identify any phone numbers that Steve or Mike were using when
                texting with the agents. Those numbers are redacted from the reports
                and it is necessary to confirm the accuracy of the information we have
                and to conduct additional investigation.

             c. Identify the agents who texted with the informants and the phone
                numbers from which they contacted the informants.

             d. All texts/SMS, IM plus e-mail on both the FBI internal (FBI net) and FBI
                official external (Internet Café-IC) to/from all agents, TFOs, CHSs or
                professional support staff relating in any way to the investigation. If
                personal or private devices were used, produce those relevant
                communications also.

             e. Detail funds expended, and any documents related to purchase
                software/apps to configure text communication to save incoming
                communications and delete outgoing communications.



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              f. Toll records for UCE and CHS phones for all contact made with
                 Hamzeh’s phones.

              g. The precise problem that affected agent Adkin’s phone and the
                 preservation of text messages.

What’s more, all of this information is derivative of the Court’s prior order that the text

messages be produced, and it is also encompassed within Brady, Rule 16 and Jencks.

       2. The Brady and Giglio material that should be turned over to the defense.

       On June 6, 2017, the Court entered an order requiring the government to turn over

all Brady and Giglio material by November 13, 2017, which was three months before the

scheduled trial date. R. 45. Previously, the government had agreed to provide that

material at least 90 days before trial. R. 32 at 13. So far, rather than receiving a massive

amount of data and information, the defense has received little—a mere fifty pages in

December and nothing else. The government was previously ordered to provide the

underlying documentation regarding payments made to the informants and that has not

happened. See. R. 107. Nor has the defense received any information concerning Mike’s

prior cooperation and payment. That too was ordered and has not been turned over. See

id. While government’s counsel has orally said the payment information doesn’t exist,

we’d expect a report or something to that effect. What’s more, given the text messages

that we now have there is evidence of additional payments made to the informants.

Reference is made to Steve getting payment for a hotel room. One of the agents texted

Steve that “We’ll get you the money tomorrow. Thank you!!” And in another instance,

Mike complains in November about how much this is costing him, and whether he’ll be



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able to sustain the costs associated with this operation. In response to Mike’s grievances,

he receives this text message:




      To that end, we are requesting any information about expected future payments

for the informants. While it is possible that Mike did all this work as an informant for a

cumulative $8,000. It seems unlikely that he would quit his job, get a job at a restaurant

with Hamzeh and Steve, hangout with Hamzeh on a daily basis, and go to the trouble of

doing all this, including spending a week with Hamzeh from January 19-25 with no

greater compensation or expectation of it. Indeed, Mike’s last payment for $2000 came on

January 20, before the operation was complete. After that, he only received a new phone

valued at $896.54. What’s more, the defense is entitled to know whether Mike will receive

greater compensation if Hamzeh is later convicted.

      In addition, the government advised the defense that Steve returned to Milwaukee

from overseas this Spring before again returning home. The government previously

represented that he had refused all benefit for his cooperation, and the immigration

benefits he received ended in March 2016. So the defense requests updated information,

including the following.

      a. All updated Giglio material (we are well past the 90-day time frame).

      b. Any requests by any informant for immigration assistance of any type or any
         immigration benefits offered or received or contemplated.

      c. Whether any informant has received post-conviction benefits in any case for
         their cooperation.
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 d. Based on the USAO’s office’s verbal inquiry of all FBI employees and TFOs
    working the case for any pending Giglio issues, and that each government
    employee’s name has been queried with negative results in the U.S. Attorney’s
    Office Giglio/Brady database for past entries.

 e. Disclose all money paid in total for any purpose to the CHS including both
    expenses and services.

 f. Disclose the amount of money paid related strictly to the Hamzeh case
    (Services + Expense broken out separately).

 g. Disclose the most recent Criminal History for the informants.

 h. Disclose the result of FBI required Public Records check for CHS from
    commercial databases (e.g. Lexis/Nexis-Investigator).

 i. Disclose the result of periodic indices/sentinel inquiries related to the CHS
    (specifically if the CHS was indexed as a reference or subject in other FBI
    investigations).

 j.   Disclose all FBI approvals for the CHS to engage in other illegal activity and
      include dates of authority and termination of authority

 k. Provide copies of any admonishments documented to the CHS file evidencing
    the CHS having violated rules, violated policies etc.

 l. Disclose any third-party benefit agreements documenting the CHS is working
    off prosecution issues of another person.

 m. Disclose any prosecution deferral or declination or benefit promised to the
    CHS in exchange for the CHS’s cooperation.

 n. Disclose the results of the required CHS “testing” by the case agents if the CHS
    failed the testing. In any case, confirm the CHS was tested via policy (believed
    to be the sub “V” file).

 o. Disclose if the CHS had recording equipment routinely assigned to him for
    extended periods of time, which is routine with CHS’s in the FBI. Disclose if
    that recording equipment was in the possession while the CHS was having
    unrecorded conversations with Hamzeh.



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       p. Detail funds expended, and any documents related to purchase software/apps
          to configure text communication to save incoming communications and delete
          outgoing communication.

The above information is discoverable and should be turned over; indeed, the

government has represented that all Brady and Giglio would be turned over by now. So a

new court order is necessary directing the information be turned over to the defense

immediately.

       3. Information concerning the agents and their training and the investigation’s
          integrity.

       Most of what is relevant concerning the agents is covered under Giglio and Brady,

but the defense is also requesting that the government provide information about the

agents’ training and the chain of custody for the recordings. At trial, the defense will

contest the voluntariness of Hamzeh’s statement. This is a question for the jury and one

that the defense has the right to challenge. See Kentucky v. Crane, 476 U.S. 683 (1986). The

defense will also challenge the recording methods used (what days were selected) and

why large swaths of recordings are missing. To that end, the defense requests:

               a. a list of any trainings concerning interrogation and interrogation
                  techniques that Agents Adkins and Frazier have attended.

               b. Produce the approved undercover proposals and comments of the
                  CUROC and the FBIHQ review committee.

               c. Copies of the front portion of every ELSUR envelope (commonly
                  referred to as the 1D Envelope or FD-504 envelope) for all digital
                  recordings. Include copies of any ECs documenting justification for late
                  submission.

               d. The Sentinel index/listing of all electronic recordings from the “ELSUR”
                  (1D) Section of the file.

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              e. FD-302’s regarding obtaining custody of the recording devices from the
                 CHS or undercover agents, the downloading and chain of custody for
                 the digital recording devices and the production of the original CDs
                 from those recording devices for every recorded conversation.

This information is all relevant and discoverable both under Rule 16, and Brady.

       4. An additional order concerning the transcripts

       Hamzeh has forecasted for well over a year-and-a-half that this would be a trial

and that the defense would be entrapment. The defense has also noted the importance of

the transcripts in this case—including filing a motion that all of the recordings have

verbatim transcripts. R. 31. In response to that motion, the government agreed it would

provide verbatim transcripts of the conversations it intended to use no later than 90 days

before trial. R. 43. The transcripts that the government intended to use at trial were

supposed to be produced in November based on the February trial date. The hope was

that a joint set of transcripts would be used at trial, saving time and resources that could

drag the trial into three weeks. A set of transcripts was sent over to the defense in

November but it was incomplete (it didn’t entail disk 104), and the transcripts, in excess

of 1300 pages, were rife with errors. The defense reviewed them and sent corrections and

memos to the government pointing out specific problems with the transcripts, including

some were just terrible, others were mislabeled, out of order, or were riddled with just

summaries. In addition, with the absence of an index, there was a misidentification of

speakers and confusion about the labeling of the speakers in the transcripts; and

inconsistent translation of important terms. The defense letter emphasized the need to act

promptly to fix the transcripts, turn them over to the defense for review by its translator

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and Hamzeh, sort out disagreements, and try to stipulate to the transcripts. Because of

this, the trial was moved from January to June. At a hearing on January 24, 2018, the

defense explained its concerns about the transcripts.

       As the defense sent further corrections, the understanding was that a single person

at the FBI would create a single set. The previous set was the product of a half-dozen

interpreters with varying results. That single set would be turned over on a rolling basis,

as the transcripts were done. And the defense would have time to review them before the

final transcript being turned over on May 31. To accommodate this timeline, the trial was

moved to August as it would not have been possible for the defense to receive the

transcripts on May 31 and use the transcripts for a June trial. At a status conference on

March 21, 2018, the government repeated the desire of the parties to come up with an

agreed translation of the transcripts to use at trial. R. 111. The months moved on and

finally May 31st day came and went, with no transcripts having been turned over. So far

(5 weeks from trial) two transcripts from early in the investigation have been turned over.

These were disclosed on June 27 and July 3, 2018. That leaves at least 27 transcripts to go

with trial less than six weeks off.

       The defense has had repeated calls and conversations with AUSA Greg Haanstad

about this. And to be clear, the defense has no reason to believe he is acting in anything

other than good faith; rather, the defense believes that he is the victim of the FBI’s

incompetence and dilatory tactics. While the defense has tried to be creative with this

situation and piece together what it can while still keeping the trial date on, the defense’s

ability to prepare for trial is hindered greatly by this delay. When transcripts are received,
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they must be reviewed by the defense translator, given to the client, checked for accuracy,

and checked to make sure the speakers are (at the very least) accurately identified. After

this is all done, there needs to be discussion with the government and its translator over

differences in an effort to agree on stipulated transcripts. Only after this is done can the

defense then incorporate the transcripts into its opening, cross-examinations, and

exhibits. It has taken the government since November, even with the defense assistance

in identifying problems with the transcripts, to produce two transcripts out of 29 or more.

Apparently it believes that although the government has spent well over six months on

the project, the defense (and its translator who has other cases to tend to) should be able

to do all this in a matter of weeks with resources that pale next to the government’s. And

all the while Hamzeh sits in custody while the FBI delays.

                                       Conclusion


       In sum, the defense has spoken to AUSA Greg Haanstad about these discovery

issues and he has advised that the government understands and will comply with its

discovery obligations. Because the parties have inconsistent views of what stands as

compliance the defense asks for expedited briefing on this issue and a prompt hearing to

resolve the dispute and hopefully keep the trial date.




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 Dated at Milwaukee, Wisconsin this 11th day of July, 2018.

                                  Respectfully submitted,


                                  /s/     Craig W. Albee
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